              Case 1:18-cv-00119-EJL Document 1 Filed 03/12/18 Page 1 of 22



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              IN THE UNITED STATES DISTRICT COURT, DISTRICT OF IDAHO
                                SOUTHERN DIVISION

ST. LUKE’S HEALTH SYSTEM, LTD. AND
ST. LUKE’S MAGIC VALLEY REGIONAL                  Case No.:
MEDICAL CENTER, LTD.,
                                                  COMPLAINT
                  Plaintiffs,
v.

LEXINGTON INSURANCE COMPANY,
AIG CLAIMS, INC. (for itself as adjuster and
as claims agent for Lexington Insurance
Company), COLUMBIA CASUALTY
COMPANY
              Defendants


         Now come the Plaintiffs, St. Luke’s Health System, Ltd. (“SLHS”) and St. Luke’s Magic

Valley Regional Medical Center. Ltd. (“SLMV”) (Collectively “St. Luke’s”), by and through

their attorneys of record and for their Complaint against Defendants Lexington Insurance

Company (“Lexington”), AIG Claims, Inc. (“AIGC”), and Columbia Casualty Company

(“Columbia”) state as follows:

                         INTRODUCTION AND NATURE OF THE CASE

         1.       This is an insurance coverage dispute for breach of contract and declaratory

judgment, brought by St. Luke’s to enforce the terms of the coverage it purchased for a claim




COMPLAINT – Page 1
US.116537836.03
            Case 1:18-cv-00119-EJL Document 1 Filed 03/12/18 Page 2 of 22



first made by Ashley Adams and her minor daughter (the “Minor Claimant”), during the first

week in June, 2016 (the “Adams Claim”).

       2.      Two consecutive policies are in issue. First, St. Luke’s purchased “Claims Made”

healthcare professional liability and excess professional liability insurance from Lexington in

Policy # 6791689 (the “Lexington Policy”), a redacted true and correct copy of which is attached

as Exhibit A hereto. The Lexington Policy was for the period from June 1, 2015 through June 1,

2016, but it expressly included an Automatic Extended Reporting Period (“AERP”) extending

coverage to Claims first made within 60 days after the expiration of the Policy Period if another

policy did not “cover” them.

       3.      St. Luke’s did not renew the Lexington Policy, and the 60-day AERP became

effective June 1, 2016. (Ex. A.)

       4.      The second policy at issue is a policy that St. Luke’s purchased from Columbia

for the period from June 1, 2016 through June 1, 2017 (the “Columbia Policy”), a redacted true

and correct copy of which is attached as Exhibit B hereto. Like the Lexington Policy, the

Columbia Policy provides “Claims Made” coverage for healthcare professional liability claims.

       5.      St. Luke’s was never without insurance. The Columbia Policy Period started June

1, 2016, the same day that the base Lexington Policy Period expired, which was also the same

day that the Lexington AERP automatically began providing coverage for Claims first made in

the 60 days after June 1, 2016 if they were not covered by another policy.

       6.      The Columbia Policy Period overlapped the Lexington AERP for 60 days; there

was no gap in coverage.

       7.      As set forth more fully below, Lexington requested and received written

confirmation in early 2017 that the Columbia Policy does not cover the Adams Claim. (The



COMPLAINT – Page 2
            Case 1:18-cv-00119-EJL Document 1 Filed 03/12/18 Page 3 of 22



email string whereby Lexington requested it is attached hereto as Exhibit L, and the Columbia

declination is attached as Exhibit M.)

       8.      By its express terms, the Lexington AERP covers the Adams Claim.

       9.      Both policies contained the same retroactive date of June 1, 1983 for a Medical

Incident to be covered, and also required that the Claim arising out of the Medical Incident be

first made during its Policy Period or any applicable extended reporting period. Both policies

specified June 1, 1983 as the “Retroactive Date” for Medical Incidents to have occurred

(“Retroactive Date”). (Ex. A., Declarations Item 3; Ex. B. at 3.)

       10.     The Medical Incident at issue in this case is alleged to have occurred on October

26, 2015 (the “Adams Incident”), which was after the Retroactive Date specified in both policies.

       11.     A “Claim” for medical malpractice cannot be initiated against a medical provider

in Idaho until the Pre-Litigation procedures of Idaho Code Chapter 10, Title 6 are followed,

which include filing a Pre-Litigation Screening Panel Application (“Pre-Litigation Screening

Application”) with the Idaho Board of Medicine.

       12.     In accordance with Idaho Code Chapter 10, Title 6, Ashley Adams, individually

and as the natural mother of the Minor Claimant, through their attorneys, filed their Pre-

Litigation Screening Application with the Idaho Board of Medicine on June 2, 2016. (The

Adams Pre-Litigation Screening Panel Application has been filed under seal as Exhibit C.)

       13.     The next day, June 3, 2016, the Idaho Board of Medicine issued a Pre-Litigation

Hearing Request for the Adams’ potential malpractice suit, and the “Adams Claim” began. (The

Pre-Litigation Hearing Request has been filed under seal as Exhibit D.)

       14.     The first Notice to St. Luke’s of the “Adams Claim” was on June 6, 2016, when

St. Luke’s received the Board of Medicine’s Pre-Litigation Hearing Request and a courtesy copy



COMPLAINT – Page 3
          Case 1:18-cv-00119-EJL Document 1 Filed 03/12/18 Page 4 of 22



of the Adams’ Pre-Litigation Screening Application. (Ex. C and Ex. D.) Accordingly, the

“Claim” was first made within the first week of the 60-day AERP for Claims under the

Lexington Policy and in the first week of the Columbia Policy Period.

       15.     Both insurers declined coverage, but for different reasons. Lexington, through its

affiliate and claims agent AIGC, argues that the coverage afforded by the Lexington AERP does

not apply because the claim falls within an exception to the Lexington AERP coverage if other

insurance “covers” it:

             A. Automatic Extended Reporting Period

                   3. The automatic extended reporting period, however, will not apply to claims
                   if other insurance purchased by the Insureds covers them

       (Ex. A at HPL 5-6, § V, ¶ A.3; Ex. J.).

       16.     Columbia denies that its policy covers the Claim because it contends St. Luke’s

should have known of a “potential” claim before the relationship between Columbia and St.

Luke’s arose, even though no claim had been filed. (Ex. M.)

       17.     One of the insurers must be wrong regarding whether the Columbia Policy covers

the Adams Claim.

       18.     The plain and ordinary meaning of the exception to Lexington’s AERP coverage

is limited to Claims that are actually being covered by another policy, and St. Luke’s asserts

direct claims against Lexington for coverage.

       19.     However, St. Luke’s also asserts alternative claims against Columbia as a

necessary party. If the Court were to accept Lexington’s and AIGC’s argument that Lexington is

relieved of its AERP duties to defend and indemnify St. Luke’s from the Adams Claim on the

basis that the Columbia Policy “covers” the Adams Claim, it would necessarily mean that

Columbia is liable.


COMPLAINT – Page 4
           Case 1:18-cv-00119-EJL Document 1 Filed 03/12/18 Page 5 of 22



       20.    This case is essentially a dispute between Lexington and Columbia over which

insurer must cover the Adams Claim, with the Insureds caught in the middle.

                                       THE PARTIES

       21.    Plaintiff SLHS is a not-for-profit health system organized under and by virtue of

the laws of Idaho. SLHS, is headquartered in Boise, Idaho and is the parent of plaintiff SLMV

and other entities in the St. Luke’s system. SLHS is a citizen of Idaho. SLHS is the Named

Insured under the Lexington and Columbia policies and is a defendant in the underlying Adams

lawsuit.

       22.    Plaintiff SLMV is also an Idaho not-for-profit corporation headquartered in Twin

Falls, Idaho. SLMV is a citizen of Idaho and is the St. Luke’s entity where the alleged medical

incident took place. SLMV is also Insured under the Lexington and Columbia policies and is a

defendant in the Adams lawsuit.

       23.    Defendant Lexington is a Massachusetts corporation headquartered in Boston.

Lexington is citizen of Massachusetts and is a member of the American International Group

(“AIG”). Lexington issued the Lexington Policy.

       24.    Defendant AIGC is a Delaware Corporation headquartered in New York City. On

information and belief, AIGC is a Citizen of either Delaware or New York, is a member of the

AIG group of companies, and is in the business of handling claims for AIG insurers. AIGC

made the decision to exclude coverage for the Adams Claim.

       25.    Defendant Columbia is an Illinois corporation headquartered in Chicago, Illinois.

Columbia is a citizen of Illinois. On information and belief, Columbia is majority owned by

Loew’s Corporation.




COMPLAINT – Page 5
            Case 1:18-cv-00119-EJL Document 1 Filed 03/12/18 Page 6 of 22



                                JURISDICTION AND VENUE

       26.     Jurisdiction exists pursuant to 28 U.S.C. §1332, in that there is complete diversity

of citizenship and the matter in controversy exceeds $75,000.00. Venue is appropriate in this

district pursuant to 28 U.S.C. §1391.

       27.     Jurisdiction also exists pursuant to 28 U.S.C. §§2201-2202 in that there is an

actual controversy regarding Insurers’ obligations to pay Defense Expenses and Indemnify St.

Luke’s for any damages that may be awarded, and there is an actual controversy regarding St.

Luke’s claims for coverage under the Lexington and Columbia policies.

             THE ADAMS CLAIM AND INITIAL NOTICE TO THE INSURERS

       28.     A serious medical incident is alleged to have occurred on October 26, 2015 in

connection with the birth of the Minor Claimant at the SLMV hospital. The alleged medical

incident was after the June 1, 1983 Retroactive Date of both the Lexington and the Columbia

Policies.

       29.     No Claim was made against St. Luke’s for the Adams Incident during the

Lexington base Policy Period, but the Adams Claim was first made at the very beginning of the

Lexington AERP on June 3, 2016.

       30.     On June 6, 2016, St. Luke’s received its first Notice of the Claim in the form of a

courtesy copy of a Pre-litigation Hearing Request from the Idaho Board of Medicine dated June

3, 2016 (Ex. D), which enclosed a copy of Adams’ Pre-Litigation Screening Application, dated

June 2, 2016 (Ex. C).

       31.     The next day, on June 7, 2016, St. Luke’s sent initial notice of the Adams Claim

to Lexington, but stated it did not know the date the Adams Claim had been filed with the Board

of Medicine. (Exhibit E.) Later the same day, St. Luke’s sent an updated notice to Lexington

confirming that the Adams Claim was received by the Board of Medicine on June 3, 2016.
COMPLAINT – Page 6
          Case 1:18-cv-00119-EJL Document 1 Filed 03/12/18 Page 7 of 22



(Exhibit F.)

        32.    St. Luke’s will not restate the allegations contained in the Pre-Litigation

Screening Application in this Complaint, but states that the Application generally asserts a claim

against St. Luke’s for medical negligence related to the birth of the Minor Claimant. (Ex. C.)

Without admitting the truth or falsity of the allegations in the Pre-Litigation Screening

Application, and for the purposes of this insurance dispute only, St. Luke’s states that the

statements contained therein speak for themselves.

        33.    St. Luke’s also gave notice to Columbia of the Adams Claim. (Exhibit G.)

        34.    The Adams initiated a lawsuit by filing a Complaint and Demand for Jury Trial on

September 28, 2016. (Exhibit H.)

        35.    An Amended Complaint and Demand for Jury Trial was filed on October 4, 2016.

(Exhibit I.)

        36.    The Adams lawsuit is ongoing, and St. Luke’s is providing its own defense.

        37.    Neither Lexington nor Columbia is providing a defense for St. Luke’s related to

the Adams Claim.

    THE LEXINGTON POLICY AND LEXINGTON’S COVERAGE DECLINATION

        38.    Without admitting the truth of the allegations, St. Luke’s states that the Adams

Claim is within the terms of coverage of the Lexington Policy.

        39.     Lexington is, therefore, in breach of the Lexington Policy.

        40.    Lexington, through AIGC, declined coverage in writing on October 24, 2016.

(Exhibit J.)

        41.    In the first paragraph of the letter, AIGC stated that it is the adjuster for the

Adams Claim and that all future correspondence should be directed to them. (Ex. J.)



COMPLAINT – Page 7
            Case 1:18-cv-00119-EJL Document 1 Filed 03/12/18 Page 8 of 22



          42.   Lexington, through AIGC, stated only one basis for declining coverage: that the

Columbia Policy “covers” the Adams Claim. (Ex. J.)

          43.   Lexington, through AIGC, purported to reserve rights to assert additional defenses

or modify its coverage position, but to date, it has asserted only that the AERP does not provide

coverage because the Columbia Policy covers the Adams Claim. (Ex. J at 7.)

          44.   Lexington’s and AIGC’s stated basis for declining coverage under the Healthcare

Professional Liability Coverage Part was based on a mistaken understanding of the facts.

Lexington and AIGC incorrectly assumed that Columbia accepted tender of the Adams Claim:

                 According to our records, St. Luke’s was no longer insured by
                Lexington after the Subject Policy expired on June 1, 2016.
                Pursuant to subsection 3 above, the automatic extended reporting
                period does not apply if other insurance purchased by St. Luke’s
                covers the claim or would have covered the claim had its limits of
                insurance not been exhausted. Based on the information received
                to date, St. Luke’s current insurer has accepted tender of the
                Subject Claim. Accordingly, the automatic extended reporting
                period does not apply because other insurance purchased by
                St. Luke’s does cover the claim.

                (Ex. J at 5) (emphasis added).

          45.   Through emails beginning in January 2017, and continuing through March 2017

St. Luke’s corrected Lexington’s misunderstanding that Columbia had accepted the Adams

Claim and advised that Columbia was not accepting coverage. (Ex L.)

          46.   And, at Lexington’s request, Columbia provided a written declination on January

27, 2017 (Ex M), which St. Luke’s forwarded it to Lexington through AIGC on February 2, 2017

(Ex L).

          47.   Thus, Lexington has had actual knowledge since February 2017, that Columbia

declined the tender and is not covering the Adams Claim. (Ex. L; Ex. M.)

          48.   Lexington responded on February 14, 2017 asking for a copy of the Columbia


COMPLAINT – Page 8
            Case 1:18-cv-00119-EJL Document 1 Filed 03/12/18 Page 9 of 22



Policy, which St. Luke’s provided on March 20, 2017. (Ex. L.)

       49.     Lexington, through AIGC, wrote again on April 4, 2017, confirming its denial of

coverage:

               The purpose of this letter is to reiterate our position that there is no
               potential for coverage for the Subject Claim under the Lexington
               Policy and that [Columbia] has the obligation to defend and
               indemnify St. Luke’s.

               (Exhibit K at 1.)

       50.     Lexington and AIGC did not add any new bases for declining coverage under the

Lexington Policy (Ex. K at 1-2), but continued to argue that Columbia covers the claim.

       51.     Instead, Lexington, through AIGC, took a new position that it did not owe

coverage to St. Luke’s because Columbia should cover the Adams Claim (Ex. K at 3-5), rather

than denying it owed coverage because it believed Columbia had accepted the tender and is

providing coverage for the Adams Claim (Ex. J).

       52.     In the “Declination of Coverage” discussion of the October 24, 2017 Declination

Letter (Ex. J at 3-7), and in the “Appendix of Selected Policy Language” attached thereto,

Lexington and AIGC admit the relevant policy terms establishing coverage under the Healthcare

Professional Liability Coverage Part, including

                    a. the Insuring Agreement for Healthcare Professional Liability (Ex. J at 3);

                       the Insuring Agreement for Bodily Injury to Patients (Ex. J at 3); and

                    b. the definitions of “medical incident”, “bodily injury”, and “claim” (Ex J at

                       4).

       53.     Lexington admits that the Lexington Insuring Agreement for Healthcare

Professional Liability coverage provides as follows:

               I.      INSURING AGREEMENT


COMPLAINT – Page 9
         Case 1:18-cv-00119-EJL Document 1 Filed 03/12/18 Page 10 of 22



              Healthcare Professional Liability

              We will pay those sums in excess of the Retained Limit set forth in
              Item 5(a) of the Declaration Page and as described in Section IV.,
              Limits of Insurance, F. Retained Limits, that you become legally
              obligated to pay others as damages resulting from a medical
              incident arising out of professional services provided by any
              Insured. The amount we will pay for damages is limited as
              described in Section IV., Limits of Insurance. The medical
              incident must take place on or after the retroactive date and before
              the end of the policy period. A claim for a medical incident must
              be first made against an Insured during the policy period or the
              extended reporting period, if applicable. A claim for a medical
              incident must be made within the coverage territory.

              No other obligation to pay sums or perform acts or services is
              covered unless explicitly provided for under Section II. DEFENSE
              AND OTHER PAYMENTS UNDER THIS POLICY – ALL
              COVERAGE PARTS of the GENERAL POLICY PROVISIONS
              AND CONDITIONS.

       (See Ex. J, Lexington’s Appendix of the Lexington Policy Terms.)

       54.    Lexington admits that it has the right and duty to defend any suit seeking damages

covered by the terms and conditions of the Lexington Policy:

              II. COVERAGE DEFENSE AND OTHER PAYMENTS
              UNDER THIS POLICY – ALL PARTS

              A.    We shall have the right and duty to defend any suit seeking
              damages covered by the terms and conditions of this policy when:

                      1.     The applicable Limits of Insurance of the
                      underlying policies listed in the Schedule of Underlying
                      Insurance and the Limits of Insurance of any other
                      underlying insurance providing coverage to the Insured
                      have been exhausted by payment of judgments or
                      settlements to which this policy applies; or

                      2.       Damages are sought for bodily injury, property
                      damage, personal injury or advertising injury covered by
                      this policy but not covered by any underlying insurance
                      listed in the Schedule of Underlying Insurance or any other
                      underlying insurance providing coverage to the Insured.

              B.     When we have the duty to defend any suit, we will defend
              such suit against the Insured for a covered claim seeking damages
COMPLAINT – Page 10
             Case 1:18-cv-00119-EJL Document 1 Filed 03/12/18 Page 11 of 22



                   on account of a medical incident, bodily injury, property damage,
                   personal injury or advertising injury even if such claim or suit is
                   groundless, false or fraudulent. We have the right to investigate,
                   defend, appoint an attorney to defend, and settle the claim or suit
                   as we deem expedient.

                   C.      In addition to the Limits of Insurance applicable to this
                   policy, we shall pay, with respect to any suit we defend, the
                   following, to the extent that they are not included in the underlying
                   policies listed in the Schedule of Underlying Insurance or in any
                   other insurance providing coverage to the Insured:

                            1.     All expenses we incur including defense costs.

           (See, id.)

           55.     Lexington admits that the Pre-Litigation Screening Request filed against St.

Luke’s on June 3, 2013, was a claim and that it was reported to Lexington on June 6, 2016. (Ex

J at 5).

           56.     Lexington admits the terms of the Lexington Policy’s AERP as follows:

                        1. If this Coverage Part is canceled or non-renewed for any
                        reason other than non-payment of premium, and if the Optional
                        Extended Reporting Period Endorsement is not purchased, then
                        we will provide an automatic extended reporting period of sixty
                        (60) days, starting with the end of the policy period, during
                        which claims arising out of medical incidents which take place
                        on or after the retroactive date stated on the Declarations Page
                        but before the end of the policy period may be first made.

                        2. The automatic extended reporting period does not extend the
                        policy period or change the scope of coverage provided. Any
                        claim first made during the automatic extended reporting period
                        shall be deemed to have been first made on the last day of the
                        policy period.

                        3. The automatic extended reporting period, however, will not
                        apply to claims if other insurance purchased by the Insureds
                        covers them.

                        4. The aggregate limits of insurance applicable to this Coverage
                        Part shall not be increased or reinstated for the automatic
                        reporting period.

                   (Id. at 5, citing Lexington Policy Excess Healthcare Professional
COMPLAINT – Page 11
           Case 1:18-cv-00119-EJL Document 1 Filed 03/12/18 Page 12 of 22



               Liability Coverage Part, Section V.A.)

       57.     The Adams Claim is within the Insuring Agreement of the Lexington Policy

because:

                   a. it arises from a Medical Incident after the Retroactive Date;

                   b. it falls squarely within the Lexington AERP; and

                   c. Lexington is contractually obligated to deem the Adams Claim to have

                       been made on the last day of the Lexington base policy period.

       58.     Under the Lexington Policy, Lexington must provide defense and indemnity for

St. Luke’s related to the Adams Claim.

                                  THE COLUMBIA POLICY

       59.     St. Luke’s purchased policy # HMU 4032243446-0 (the “Columbia Policy”) for

the Policy Period June 1, 2016 through June 1, 2017. (Ex. B.) Like the Lexington Policy, the

Columbia Policy provided both Professional Liability coverage and Umbrella Liability coverage.

       60.     Like the Lexington Policy, the Columbia Policy provided Healthcare Professional

Liability (“HPL”) coverage on a “Claims Made” basis for claims first made and reported during

the Policy Period or any applicable extended reporting period that arose out of a covered medical

incident after the specified ”Retroactive Date” set forth in each policy.

       61.     Like the Lexington policy, the Columbia Policy specified June 1, 1983 as the

Retroactive Date for claims under the HPL coverage.                (Ex. B, “Declarations,” Form

CNA72897XXC (03-2014) at page 3 of 57; see also Ex. B, “Declarations Amendatory

Endorsement” Form No CNA72903XX (04-2013) at Item II.)

       62.     The Adams Claim was first made during the Columbia Policy Period.

       63.     There was no claim made arising out of the Adams Incident prior to the inception

of the Columbia Policy.
COMPLAINT – Page 12
         Case 1:18-cv-00119-EJL Document 1 Filed 03/12/18 Page 13 of 22



       64.     Notice of the Adams Claim was given to Columbia. (Ex. G.)

       65.     Columbia declined coverage for the Adams Claim for very different reasons than

Lexington.

       66.     The Insuring Agreement for Healthcare Professional Liability coverage in the

Columbia Policy provides:

               COVERAGE

               A.      Insuring Agreement

               Subject to the section entitled LIMITS OF INSURANCE, the
               Insurer will pay on behalf of the Insured those damages in excess
               of the applicable underlying limit that an Insured becomes
               legally obligated to pay as a result of a claim, including a
               professional liability claim, alleging injury and caused by an
               incident. The Insurer will pay such damages only upon
               exhaustion of the applicable underlying limit. (Ex. B, Form No.
               CNA72888XX (10-2013) at 1.)

       67.     Unlike the Lexington Policy, the Columbia Policy does not have the right and

duty to defend a Claim, but it has the obligation to pay defense costs incurred by the Insured, and

may take over the defense or associate in the defense at its discretion as follows:

               DEFENSE PAYMENT AND RELATED DUTIES

               A.      No Insured shall admit liability, consent to any judgment,
               agree to any settlement or make any settlement offer which is
               reasonably likely to involve this policy without the Insurer’s prior
               written consent, such consent not to be unreasonably withheld.
               The Insureds agree that they shall not knowingly take any action
               that increases the Insurer’s exposure for damages or loss under
               this policy.

               B.      The Insurer may, at the Insurer’s sole discretion and at the
               Insurer’s own cost, elect to participate in the investigation,
               settlement or defense of any claim against any of the Insureds for
               matters covered by this policy even if the applicable underlying
               limit has not been exhausted.

               C.    Where there is underlying insurance (including a self-
               Insured retention) or unscheduled underlying insurance, the

COMPLAINT – Page 13
       Case 1:18-cv-00119-EJL Document 1 Filed 03/12/18 Page 14 of 22



           Insured Entity, and not the Insurer, has the duty to defend claims.
           The Insured Entity shall exercise its best judgment in adjusting
           claims and endeavor to resolve such claims in a fair, equitable,
           timely and cost effective manner in accordance with the standards
           set forth in the National Association of Insurance Commissioners’
           Unfair Claims Settlement Practices Act., as it may be amended
           from time to time.

           D.      If the obligation of all underlying insurers (or the Insured
           Entity, where there is a self-Insured retention) either to
           investigate or defend the claim or pay the cost of such
           investigation or defense, ceases solely through exhaustion of all
           applicable underlying limits through payment of a combination
           of any covered expenses, damages, settlements or judgments for
           injury, then the Insurer will, at the Insurer’s option, either:

           1.     assume the investigation or defense of the Insured against
                  claims; or

           2.     reimburse the Insured for defense costs it incurs in the
                  investigation or defense of such claims.

           However, all defense costs incurred in connection with such
           claims are included within and erode the Limits of Insurance.

           E.     The Insurer will have the option to either investigate or
           defend a claim or to reimburse an Insured for defense costs in
           connection with a claim where the claim is not covered under the
           underlying insurance or unscheduled underlying insurance, but
           which seeks or involves damages because of injury otherwise
           covered under this policy.

           F.     Where the Insurer has opted to investigate or defend a
           claim, the Insurer will do so even if the allegations of a claim are
           groundless, false, or fraudulent, but only until the Insurer makes
           payment or offers to pay or deposit in court that part of a judgment
           not exceeding the Insurer’s limit of liability. The Insurer shall also
           have the sole right to make settlement of a claim as the Insurer
           deems expedient.

           G.      If a claim made against the Insureds includes both covered
           and uncovered matters or if a claim is made against Insureds who
           are extended coverage therefore and others who are not extended
           coverage therefore, the Insureds agree that there must be an
           allocation between Insured and uninsured loss. The Insureds and
           the Insurer shall exercise their best efforts to agree upon a fair and
           proper allocation, based on the relative legal and financial

COMPLAINT – Page 14
         Case 1:18-cv-00119-EJL Document 1 Filed 03/12/18 Page 15 of 22



               exposures, between Insured loss and uninsured loss.

               (Ex B., Form No. CNA72888XX (10-2013) at 2-3.)

       68.     The Columbia Policy contains a limitation on the Insuring Agreement obligations

for incidents prior to the coverage relationship:

               2.      Claims-Made Coverage

               Where the primary policy or self-insured retention is on a
               claims-made basis,

               a.      such claim is first made against an Insured during the
                       policy period or during the extended reporting period, if
                       any, and is reported to the Insurer in accordance with the
                       section entitled CONDITIONS, the paragraph entitled
                       Notice of Claims and Potential Claims; and

               b.      prior to the effective date of the coverage relationship:

                       i.      no authorized Insured knew or should have known
                               of a claim or potential claim; or

                       ii.     no Insured had given notice to a prior insurer of
                               any related claim.

               c.      prior to the effective date of the coverage relationship, no
                       authorized Insured knew:

                       i.      that any bodily injury (other than covered bodily
                               injury arising out of the rendering of professional
                               services) or property damage had occurred. If any
                               authorized Insured knew, prior to the coverage
                               relationship, that any bodily injury or property
                               damage had occurred, then any continuation,
                               change or resumption of such bodily injury or
                               property damage during or after the coverage
                               relationship will be deemed to have been known
                               prior to the coverage relationship.

                       ii.     that any offense giving rise to personal and
                               advertising injury had occurred, in whole or in
                               party, and

               d.      the incident occurred on or after the Retroactive Date, if
                       any, shown in the DECLARATIONS.


COMPLAINT – Page 15
       Case 1:18-cv-00119-EJL Document 1 Filed 03/12/18 Page 16 of 22



           3.     For purposes of paragraphs 1. and 2. above, an authorized
                  Insured will be deemed to know:

           a.     that such bodily injury or property damage occurred, at
                  the earliest time when such authorized Insured:

                  i.      reports the bodily injury or property damage to
                          the Insurer or any other Insurer:

                  ii.     receives a claim arising out of the bodily injury or
                          property damage; or

                  iii.    becomes aware by any other means that the bodily
                          injury or property damage has occurred or has
                          begun to occur;

           b.     that such offense had occurred, on the date of the first
                  utterance or dissemination or, if there is no utterance or
                  dissemination on the first date of the activity giving rise to
                  a claim.

           (Ex. B, Form No. CNA72888XX (10-2013) at 1-2.)

     69.   The Columbia Policy defines “coverage relationship” as:

           Coverage relationship means that period of time that begins on
           the Effective Date of the first policy issued by the Insurer to the
           First Named Insured of which this policy is a renewal in a
           consecutive series of renewals and ends on the cancellation date or
           nonrenewal date of the last such consecutive renewal policy issued
           by the Insurer to the First Named Insured, where there has been
           no gap in coverage. (Ex B, Form No. CNA72888XX (10-2013) at
           page 24 of 34.)

     70.   The Columbia Policy defines “Authorized Insured” as:

           Authorized Insured means any executive officer, member of the
           Named Insured’s human resources, risk management or in-house
           general counsel’s office, or any employee authorized by the
           Insured Entity to give or receive notice of a claim. (Ex B, Form
           No. CNA72888XX (10-2013) at 24.)

                                        COUNT I

       BREACH OF INSURANCE CONTRACT BY LEXINGTON AND AIGC

     71.   Plaintiffs restate and reallege paragraphs 1 – 70 above, as if fully restated herein.


COMPLAINT – Page 16
         Case 1:18-cv-00119-EJL Document 1 Filed 03/12/18 Page 17 of 22



       72.     The Lexington Policy (Ex. A) constitutes a binding insurance contract.

       73.     St. Luke’s has satisfied its contractual obligations under the Lexington Policy and

is not in breach.

       74.     The Adams Claim arose out of a Medical Incident that occurred after the

Retroactive Date of the Lexington Policy.

       75.     The Adams Claim was first made during the AERP of the Lexington Policy.

       76.     The terms of the AERP do not excuse Lexington from its obligations to provide

defense and indemnity to St. Luke’s under the Lexington Policy.

       77.     In particular, Lexington is not relieved of its obligations under the AERP based on

Lexington’s argument that the Columbia Policy should cover the Adams Claim.

       78.     St. Luke’s gave timely notice of the Adams Claim to Lexington and AIGC.

       79.     The Adams Claim is within the Healthcare Professional Liability Insuring

Agreement of the Lexington Policy.

       80.     Lexington has the obligation to defend and indemnify St. Luke’s from the Adams

Claim, but Lexington, through AIGC, has refused to do so.

       81.     Lexington’s and AIGC’s failure to provide defense and indemnity to St. Luke’s

for the Adams Claim is not excused.

       82.     Lexington’s breach caused damages to St. Luke’s, which damages are continuing.

       83.     The amount of damages caused by Lexington’s breach exceed $75,000.00 and

they are continuing.

                                            COUNT II

             DECLARATORY JUDGMENT AS TO LEXINGTON AND AIGC
                      REGARDING DUTY TO DEFEND

       84.     Plaintiffs restate and reallege the allegations of paragraphs 1 – 70 above, as if


COMPLAINT – Page 17
          Case 1:18-cv-00119-EJL Document 1 Filed 03/12/18 Page 18 of 22



fully restated herein.

        85.     There is an actual substantial controversy between St. Luke’s, and Lexington and

AIGC regarding Lexington’s coverage obligations to St. Luke’s for the Adams Claim.

        86.     The interests of Lexington and AIGC are adverse to the interests of St. Luke’s.

        87.     The Policy (Ex. A) constitutes a binding insurance contract.

        88.     St. Luke’s has satisfied its contractual obligations under the Lexington Policy and

is not in breach.

        89.     The Adams Claim arose out of a Medical Incident that occurred after the

Retroactive Date of the Lexington Policy.

        90.     The Adams Claim was first made during the AERP of the Lexington Policy.

        91.     The terms of the AERP do not excuse Lexington from its obligations to provide

defense and indemnity to St. Luke’s under the Lexington Policy.

        92.     In particular, Lexington is not relieved of its obligations under the AERP based on

Lexington’s argument that the Columbia Policy should cover the Adams Claim.

        93.     St. Luke’s gave timely notice of the Adams Claim to Lexington and AIGC.

        94.     The Adams Claim is within the Healthcare Professional Liability Insuring

Agreement of the Lexington Policy.

        95.     Lexington has the obligation to defend and indemnify St. Luke’s from the Adams

Claim, but Lexington, through AIGC, has refused to do so.

        96.     Lexington’s and AIGC’s failure to provide defense and indemnity to St. Luke’s

for the Adams Claim is not excused.

        97.     Lexington’s breach caused damages to St. Luke’s, which damages are continuing.




COMPLAINT – Page 18
          Case 1:18-cv-00119-EJL Document 1 Filed 03/12/18 Page 19 of 22



         98.    The interests are of sufficient immediacy and reality to warrant the issuance of a

declaratory judgment.

         99.    The amount in controversy exceeds $75,000.00.

                         COUNT III (PLED IN THE ALTERNATIVE)

     DECLARATORY JUDGMENT THAT COLUMBIA HAS A DUTY TO DEFEND

         100.   Plaintiffs restate and reallege the allegations of paragraphs 1 – 70 above, as if

fully restated herein.

         101.   In the event that the Court were to conclude that Lexington is excused from its

obligations to defend and indemnify St. Luke’s from the Adams Claim under the Lexington

AERP because the Columbia Policy “covers” the Adams Claim as Lexington asserts, it would

necessarily follow that the Columbia, under the Columbia Policy, must defend and indemnify St.

Luke’s from the Adams Claim.

         102.   There is an actual substantial controversy between St. Luke’s and Columbia

regarding Columbia’s coverage obligations for St. Luke’s for the Adams Claim.

         103.   The interests of Columbia are adverse to the interests of St. Luke’s.

         104.   The Policy (Ex. B) constitutes a binding insurance contract.

         105.   St. Luke’s has satisfied its contractual obligations under the Columbia Policy and

is not in breach.

         106.   The Adams Claim arose out of a Medical Incident that occurred after the

Retroactive Date of the Columbia Policy.

         107.   The Adams Claim was first made during the Columbia Policy period.

         108.   Columbia has declined to pay defense and indemnity for St. Luke’s for the Adams

Claim.



COMPLAINT – Page 19
         Case 1:18-cv-00119-EJL Document 1 Filed 03/12/18 Page 20 of 22



       109.    The amount of the damages caused by Columbia’s failure to pay defense and

indemnity exceed $75,000.00 and they are continuing to increase.

       110.    The interests are of sufficient immediacy and reality to warrant the issuance of a

declaratory judgment.

       111.    The amount in controversy exceeds $75,000.00.

               RELIEF REQUESTED AGAINST LEXINGTON AND AIGC

       WHEREFORE, St. Luke’s respectfully prays that this Court enter an order granting St.

Luke’s the following relief:

       A.      Enter a judgment for declaratory relief declaring that Lexington and AIGC are not

               relieved from the defense and indemnity obligations barred from denying St.

               Luke’s defense and indemnity for the Adams Claim under the terms of the AERP

               because Columbia is not covering the Adams Claim;

       B.      Award damages in favor of St. Luke’s requiring Lexington to reimburse the past

               Defense Costs already incurred by St. Luke’s;

       C.      Enter a judgment for declaratory relief requiring Lexington to defend and

               indemnify St. Luke’s from all liability for the Adams Claim going forward.

       D.      Award such supplemental and other relief as this Court finds just and proper.

              ALTERNATIVE RELIEF REQUESTED AGAINST COLUMBIA

       WHEREFORE, St. Luke’s respectfully prays that this Court enter an order granting St.

Luke’s the following relief in the event that the Court concludes Lexington is not liable for St.

Luke’s defense and indemnity under the AERP because the Colombia Policy “covers” the

Adams Claim:

       A.      Enter a judgment for declaratory relief declaring that Columbia must pay St.



COMPLAINT – Page 20
       Case 1:18-cv-00119-EJL Document 1 Filed 03/12/18 Page 21 of 22



           Luke’s defense and indemnity for the Adams Claim under the Columbia Policy;

     B.    Award such supplemental and other relief as this Court finds just and proper.

     March 12, 2018


                                                  Respectfully submitted,

                                                  s/ J. Walter Sinclair

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                                                  Attorneys for St. Luke’s Health System,
                                                  Ltd. and St. Luke’s Regional Medical
                                                  Center, Ltd.




COMPLAINT – Page 21
           Case 1:18-cv-00119-EJL Document 1 Filed 03/12/18 Page 22 of 22



                               CERTIFICATE OF SERVICE

         A copy of the foregoing Complaint will be served via process server on each named

Defendant.




                                               /s/J. Walter Sinclair

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